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                           Exhibit J
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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION
  Root, Inc., et al.                              )
                                                  )
                  Plaintiffs,                     )
                                                  )
  v.                                              )      CASE NO.: 2:23-CV-00512-SDM-CM
                                                  )
  Brinson Caleb Silver, et al.,                   )
                                                  )
                  Defendants.
                                                  )


    SPECIALLY APPEARING DEFENDANT QUANTASY & ASSOCIATES, LLC’S
  RESPONSES AND OBJECTIONS TO PLAINTIFFS ROOT, INC., CARET HOLDINGS,
      INC., AND ROOT INSURANCE AGENCY, LLC’S FIRST REQUESTS FOR
                             PRODUCTION

          Pursuant to the Federal Rules of Civil Procedure Rules 26 and 34, Specially Appearing

  Defendant Quantasy & Associates, LLC (“Quantasy”) hereby serves these Objections and

  Responses to the First Requests for Production of Plaintiffs Root, Inc., Caret Holdings, Inc., and

  Root Insurance Agency, LLC (collectively, the “Plaintiffs”).
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          REQUEST NO. 15. Produce any bank records from January 1, 2021, to the present that
  reflect any payment to Quantasy by, or by Quantasy to, Collateral Damage, Eclipse and/or Silver.

  RESPONSE: Quantasy will produce documents responsive to this request.

          REQUEST NO. 16. Produce any bank records from January 1, 2021, to the present that
  reflect any payment to you by, or by you to, Campbell that relate to Root.

  OBJECTION: Quantasy objects to the term “relating to” as vague and undefined. As a principal
  at Quantasy, Campbell receives a salary and, from time to time, distributions from Quantasy.
  Some portion of Campbell’s salary and/or distributions received may have included revenue
  realized from Root or profits derived from Quantasy’s work on behalf of Root; the percentage of
  salary or distributions that are derived from Quantasy’s work for Root is impossible to calculate
  with any accuracy, and, further, Quantasy objects to production of documents relating to
  Campbell’s salary and distributions from Quantasy. Quantasy will not produce any information
  related to Campbell’s salary.

          REQUEST NO. 17. Produce all documents that you intend to introduce into evidence or
  refer to at any hearing, deposition or trial in this matter.

  RESPONSE: Quantasy states that it has not determined what materials it will introduce into
  evidence or refer to during any hearings, depositions, or at trial. Quantasy will produce any such
  materials in compliance with any applicable Federal Rules of Civil Procedure, Federal Rules of
  Evidence, and the Court’s pre-trial orders.

         REQUEST NO. 18. Produce all other documents related to Root not requested above.

  OBJECTION: Quantasy objects to this Request as unduly vague because it fails to identify the
  requested material with any specificity.



                                                      AS TO OBJECTIONS:

                                                      /s/ Matthew D. Ridings
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